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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant


                      NOTICE OF DISCOVERY CORRESPONDENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case. Earlier today, the government transmitted the attached letter to counsel (Attachment

A), which states that this morning the government confirmed that it had misidentified the

authorship of the handwritten notes from the January 24, 2017 interview of the defendant. The

notes the government had previously identified as Peter Strzok’s, are actually the other agent’s

notes (see Surreply, Exhibit 1), and what the government had identified as the other agent’s notes

are Strzok’s notes (see Surreply, Exhibit 2).
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       We are available should the Court have questions, or if the Court would like us to take

further corrective action.



                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By: /s/

                                                    Brandon L. Van Grack
                                                    Special Assistant U.S. Attorney
                                                    950 Pennsylvania Ave., NW
                                                    Washington, DC 20530
                                                    (202) 233-0968

                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    555 4th Street NW
                                                    Washington, D.C. 20530




Dated: November 5, 2019




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                            CERTIFICATE OF SERVICE

        I, Brandon L. Van Grack, certify that I caused to be served a copy of the foregoing by
electronic means on counsel of record for the defendant on November 5, 2019.




                                           ______/s/_______________
                                           Brandon L. Van Grack
                                           950 Pennsylvania Ave., NW
                                           Washington, DC 20530
                                           (202) 233-0968

                                           Attorney for the United States of America




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